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 8
                           UNITED STATES DISTRICT COURT
 9

10                        CENTRAL DISTRICT OF CALIFORNIA
11

12                                    )
                                      )
13    CATHERINE COFFMAN,
                                      ) Case No. 2:21-cv-03059
14                    Plaintiff,      )
15
             v.                       )
16                                    ) NOTICE OF VOLUNTARY
      FLIR SYSTEMS, INC., EARL R.     ) DISMISSAL
17    LEWIS, JAMES J. CANNON, JOHN D. )
18    CARTER, WILLIAM W. CROUCH,      )
      CATHERINE A. HALLIGAN, ANGUS
19    L. MACDONALD, MICHAEL T.        )
      SMITH, CATHY A. STAUFFER,       )
20
      ROBERT S. TYRER, JOHN W. WOOD, )
21    JR., and STEVEN E. WYNNE,       )
22                                    )
                      Defendants.
23
                                      )
                                      )
24

25
           PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure
26

27 41(a)(1)(A)(i), plaintiff Catherine Coffman (“Plaintiff”) voluntarily dismisses the

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                           NOTICE OF VOLUNTARY DISMISSAL
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     claims in the captioned action (the “Action”) with prejudice. Because this notice of

 2 dismissal is being filed with the Court before service by defendants of either an answer

 3
     or a motion for summary judgment, Plaintiff’s dismissal of the Action is effective upon
 4

 5 the filing of this notice.

 6
     Dated: April 29, 2021                       WEISSLAW LLP
 7

 8                                               By: /s/ Joel E. Elkins
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                           NOTICE OF VOLUNTARY DISMISSAL
